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Catherine L. Szpindor                             Office of the                                  HB-28, The Capitol
 Chief Administrative Officer

                                           Chief Administrative Officer
                                          U.S. House of Representatives
                                          Washington, DC 20515-6860


                                                       May 25, 2022


      To Whom It May Concern:

      As a result of the attack on the United States Capitol on January 6, 2021, the Office of the Chief
      Adminstrative Officer, United States House of Representatives, suffered accountable damages of at least
      $547,411.27 and is seeking restitution of that sum through the cases being prosecuted by the United States.
      Our office continues to assess and address fallout from the attack and we would respectfully reserve the
      right to further adjust this figure in the future.



                                                             Sincerely,



                                                             Catherine L. Szpindor
                                                             U.S. House of Representatives
                                                             Chief Administrative Officer
